 

   

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
x Fe Stags
EYOBE AMBERBER, Individually and on Case No.: 1:21-cv-01392-GBD
Behalf of All Others Similarly Situated,
Plaintiff

 

STIPULATION, AMENDED CIVIL
-against- CASE SCHEDULING ORDER
AND MANAGEMENT PLAN

 

 

 

EHANG HOLDINGS LIMITED; HUAZHI
HU; RICHARD JIAN LIU; EXOWARD
HUAXIANG XU,
Defendants
X
VIVIAN CHAUMONT, Individually and on Case No.: 1:21-cv-01526-GBD
Behalf of All Others Similarly Situated,
Plaintiff

 

-against-

EHANG HOLDINGS LIMITED; HUAZHI
HU; RICHARD JIAN LIU; EDWARD
HUAXIANG XU,

Defendants

 

The below Amended Scheduling Order and Case Management Plan is hereby
stipulated and agreed to, by and between the undersigned counsel.
After consultation with counsel, the following Amended Scheduling Order and
Case Management Plan is adopted pursuant to Rules 16 and 26(f) of the Federal Rules
of Civil Procedure.
1. Defendant need not answer, move, or otherwise respond to the complaints in these
actions, or to any other complaint filed in a related action and consolidated with
this case, until after the Court appoints a lead plaintiff pursuant to 15 U.S.C. § 78u-

4(a)(3)(B) and such lead plaintiff files an amended complaint.

 

 
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2. Within 14 days after the Court appoints lead plaintiff and lead counsel, lead
counsel shall meet and confer with counsel for Defendant and file a stipulation
setting an appropriate schedule for the filing of lead plaintiff's amended complaint
and the response(s) thereto.

3. Nothing herein shall be deemed to constitute a waiver of any claims, rights,
defenses, objections, arguments, or any other applications to any court that any
party may have with respect to this matter.

4. Good cause having been shown, the initial pretrial conference currently set for May
4, 2021 is adjourned sine die.

Dated: AP? Z 7 2074

New York, New York

SO ORDERED:

Gets EI Dar mh

e B. Daniels
Sites States District Judge

 

 
 

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Dated: April 21, 2021

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